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November 1, 2021 | | 7A

The Honorable Ellen L. Hollander CL
United States District Court Judge if MF.
United States District Court for U:

The District of Maryland a
Garmatz Federal Courthouse

101 W. Lombard Street

Baltimore, Maryland 21201

RE: Maryland Office of the Public Defendant, et al. v. Talbot County, MD
Civil Action No: 1:21-cv-01088-ELH

Dear Judge Hollander:

Along with the ACLU of Maryland, I represent the Maryland Office of the Public
Defender, Talbot County NAACP, and individual Plaintiffs in this matter. In advance of the
telephone conference set for November 8, 2021, per your margin order of October 27, I write to
give Your Honor the Plaintiffs’ perspective on Defendant Talbot County’s status report to you of
October 27.

In his letter, County defense counsel, Kevin Karpinski, states that, in his own view,
Plaintiffs have “imposed unreasonable conditions” on a 30-day stay. Plaintiffs are not clear what
Mr. Karpinski finds unreasonable, so for full transparency I am appending to this letter the one
and only chain of correspondence between myself and Mr. Karpinski setting out the Plaintiffs’
position. As the correspondence shows, Plaintiffs consented to a 30-day extension of the stay
subject only to (i) Mr. Karpinski providing the Court with the status report that was already
required per your order of September 17, 2021 (Dkt. # 25) and (ii) his client, Talbot County,
agreeing to give the plaintiffs a 72-hour notice before removing the Confederate statue that is at
the center of this dispute. It is not clear why either of those conditions is unreasonable.

Further, as for a longer extension, I informed Mr. Karpinski that the Plaintiffs appreciate,
based on earlier representations he had conveyed to me, that removal may take longer than 30
days, in which case they request only that (i) the County explain with greater specificity the
reason more time is necessary, given that private funding has already been arranged to pay for
the statue’s removal, and (ii) the statue be covered in the meantime. Given the inherently racist
and demeaning character of the statue, and the fact that the County has already voted that
removal is in the best interests of the health, safety and welfare of the community, here again it is
not clear what is unreasonable about either of the Plaintiffs’ requests.

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